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 5   Attorneys for Defendant
     Michael Miller
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 7
 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                Case No. 8:19-CR-00045-JLS
12               Plaintiff,                   EX PARTE APPLICATION RE
13                                            PERMISSION FOR DEFENDANT TO
                                              TRAVEL INTERNATIONALLY
14
           vs.                                DATE :      September 19, 2019
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16
     MICHAEL MILLER,
17
                 Defendant.
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19         COMES NOW DEFENDANT, Michael Miller, and hereby applies ex parte to
20   be allowed to travel outside the continental United States to Jamaica for a wedding
21   from October 4 to 7, 2019.
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 1             Defendant Michael Miller resides and is on pretrial supervision in the District
 2   of Maryland. Defendant’s Pretrial Services Officer in the District of Maryland, Jessica
 3   Weissman has no objection to this request. Vanessa Singh, the Pretrial Services
 4   Officer assigned to Mr. Miller in this District defers to Ms. Weissman. The United
 5   States Attorney’s Office for the Central District of California takes no position and
 6   defers to the Court. Defendant will provide Pretrial Services with an itinerary for his
 7   travel.
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     DATED: September 19, 2019                    Respectfully submitted,
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                                                  ANDRUES/PODBERESKY,
11                                                A Professional Law Corporation

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13                                          By: /s/ Vicki I. Podberesky
                                                 VICKI I. PODBERESKY
14                                              Attorneys for Defendant

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                             UNITED STATES OF AMERICA V. MICHAEL MILLER
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 1                       DECLARATION OF VICKI I. PODBERESKY
 2         I, VICKI I. PODBERESKY, declare and state as follows:
 3         1.       I am an attorney at law licensed to practice before all courts of the State
 4   of California and am the attorney of record for Michael Miller in the aforementioned
 5   matter.
 6         2.       Mr. Miller is requesting permission to travel to Montego Bay, Jamaica
 7   for a wedding from October 4-7, 2019.
 8         3.       AUSA Joseph McNally has been informed of this request and takes no
 9   position.
10         4.       Pretrial Services Officer Vanessa Singh of the Central District of
11   California has been informed of this request and defers to the position of the Pretrial
12   Services Office of the District of Maryland where Mr. Miller lives and is under
13   supervision.
14         5.       Pretrial Services Officer Jessica Weissman of the District of Maryland
15   has been informed of this request and has no objection to the request, as Mr. Miller
16   has been compliant with his imposed conditions of release.
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           6.       Based upon the above, defendant Michael Miller hereby respectfully
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     requests that this Honorable Court grant his request for travel outside the District of
19
     Maryland on the dates indicated herein.
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           I declare to the best of my knowledge that the foregoing is true and correct.
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           Dated this 19th day of September, 2019 in Los Angeles, California.
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24                                               /s/ Vicki I. Podberesky
                                                  Vicki I. Podberesky
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                            UNITED STATES OF AMERICA V. MICHAEL MILLER
